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MARY THOMAS,

Plaintiff,
-VS- CASE No.: (@~.11 _c;v~to")_<t-W\L‘~ 'Si-t)c;`f
CREDIT ole BANK, N.A.,

Defendant.
/

COMPLAINT

COMES NOW Plaintiff, MARY THOMAS, by and through the undersigned
counsel, and sues Defendant, CREDIT ONE BANK, N.A., and in support thereof
respectfully alleges Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
227 et seq. (“TCPA”) and the Florida Consurner Collection Praetices Act, Fla. Stat. §
559.55 el seq. (“FCCPA”).

INTRODUCTION

1. The TCPA Was enacted to prevent companies like CREDIT ONE BANK,
N.A. from invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mz`ms v. Arrow Fin. Servs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2()12).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

Scourge of modern civilization, they Wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until We Want to rip the

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telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the autodialers to simply
stop calling.” Osorio v. State Farm chk, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet.' Wheeler Proposal
to Protect and Empower Consumers Agaz`nst Unwanted Robocalls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015).

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(1)(A)(iii). See Mz'ms v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

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8. The alleged violations described herein occurred in Volusia County,
Florida Accordingly, venue is appropriate With this Court under 28 U.S.C. §l39l(b)(2)
as it is the judicial district in Which a substantial part of the events or omissions giving
rise to this action occurred v

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of` Florida, residing in
Volusia County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

ll. Plaintiff` is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A. , 755
F. 3d 1265 (llth Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (llth
Cir. 2014).

13. Defendant, CREDIT ONE BANK, N.A., is a corporation With its principal
place of business located at 585 Pilot Road, Las Vegas, Nevada, 89119 and Which
conducts business in the State of` Florida.

14. The debt that is the subject matter of` this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. CREDIT ONE BANK, N.A. is a “creditor” as defined in Florida Statute
§559.55(5)

16. CREDIT ONE BANK, N.A. called Plaintif`f` on Plaintiff’s cellular
telephone approximately one hundred (100) times since revocation on September l9th,

2016, in an attempt to collect a debt.

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17. CREDIT ONE BANK, N.A. attempted to collect an alleged debt from
Plaintiff by this campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintif`f’s cellular telephone number were made using an “automatic telephone dialng
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintif`f` Will testify that she knew it was an
autodialer because of the vast number of calls she received and because she heard a pause
when she answered her phone before a voice came on the line from CREDIT ONE
BANK, N.A.

19. Plaintiff is the subscriber, regular user and carrier of` the cellular telephone
number (386) ***-8150 and was the called party and recipient of Defendant’s calls.

20. Beginning on or about May 2016, CREDIT ONE BANK, N.A. began
bombarding Plaintiff"s cellular telephone (386) ***-8150 in an attempt to collect a credit
card debt.

21. On or about September 19“`, 2016, Plaintiff` revoked her consent to be
called by Credit One Bank by requesting that the calls stop. Specifically, Plaintiff spoke
with an agent of Defendant and stated “You people call me way too much, PLEASE
STOP CALLING ME!” Each call Credit One Bank made to Plaintiff’ s cell phone after
said revocation was done so without the “expressed permission” of the Plaintiff` and in

violation of the TCPA.

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22. Despite Plaintiff informing Defendant to stop calling, the Defendant’s
autodialer calls to Plaintiff’s cellular phone continued after September 19, 2016. Between
September l9‘h, 2016 and October thh, 2016, Plaintiff` made a non-exclusive log of
nineteen (19) calls she received from the Defendant. A copy of the non-exclusive call log
is attached as Exhibit “A.”

23. The autodialer calls from Defendant came from telephone numbers
including but not limited (214) 814-2001; (210) 739-6460; (407) 641-4133, (541) 647-
6430, (407) 401-7504, (480) 739-0926, (725) 333-7210, (321) 710-4278, (415) 275-3800,
(321) 800-5164; (520) 230-8405; and (321) 800-5166 and When those numbers are
called a pre-recorded voice or agent answers and identifies the number as belonging to
Credit One Bank.

24. Defendant knowingly and/or Willfully harassed and abused Plaintiff on
numerous occasions by calling Plaintiff cellular telephone number up to four (4) times a
day from approximately May 2016 through the filling of this complaint, with such
frequency as can reasonably be expected to harass, all in an effort related to collection of
the subject account.

25. CREDIT ONE BANK, N.A. has a corporate policy to use an automatic
telephone dialing system or a pre-recorded or artificial voice to individuals just as it did
to PlaintifF s cellular telephone in this case.

26. CREDIT ONE BANK, N.A. has a corporate policy to use an automatic
telephone dialing system or a pre-recorded or artificial voice just as it did to Plaintiff"s
cellular telephone in this case, with no way for the consumer, Plaintiff, or CREDIT ONE

BANK, N.A., to remove the number.

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27. CREDIT ONE BANK, N.A.’s corporate policy is structured so as to
continue to call individuals like Plaintiff, despite these individuals explaining to CREDIT
ONE BANK, N.A. they wish for the calls to stop.

28. CREDIT ONE BANK, N.A. has numerous other federal lawsuits pending
against it alleging similar violations as stated in this Complaint.

29. CREDIT ONE BANK, N.A. has numerous complaints across the country
against it asserting that its automatic telephone dialing system continues to call despite
requested to stop.

30. CREDIT ONE BANK, N.A. has had numerous complaints from
consumers across the country against it asking to not be called; however, Defendant
continues to call the consumers.

31. CREDIT ONE BANK, N.A.’s corporate policy provided no means for
Plaintiff to have her number removed from Defendant’s call list.

32. CREDIT ONE BANK, N.A. has a corporate policy to harass and abuse
individuals despite actual knowledge the called parties do not wish to be called,

33. Not a single call placed by CREDIT ONE BANK, N.A. to Plaintiff Were
placed for “emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

34. CREDIT ONE BANK, N.A. Willfully and/or knowingly violated the
TCPA with respect to Plaintiff,

35. From each and every call placed without consent by CREDIT ONE
BANK, N.A. to Plaintist cell phone, Plaintiff suffered the injury of invasion of privacy

and the intrusion upon her right of seclusion.

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36. From each and every call Without express consent placed by CREDIT
ONE BANK, N.A. to Plaintiff`s cell phone, Plaintiff suffered the injury of occupation of
her cellular telephone line and cellular phone by unwelcome calls, making the phone
unavailable for legitimate callers or outgoing calls while the phone was ringing from
CREDIT ONE BANK, N.A.’s calls,

37. From each and every call placed without express consent by CREDIT
ONE BANK, N.A. to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary
expenditure of her time. For calls she answered, the time she spent on the call Was
unnecessary as she repeatedly asked for the calls to stop. Even for unanswered calls,
Plaintiff had to waste time to unlock the phone and deal with missed call notifications
and call logs that reflected the unwanted calls. This also impaired the usefulness of these
features of Plaintiff’s cellular phone, which are designed to inform the user of important
missed communications

38. Each and every call placed without express consent by CREDIT ONE
BANK, N.A. to Plaintiff’s cell phone was an injury in the form of a nuisance and
annoyance to Plaintiff`. For calls that were answered, Plaintiff had to go to the
unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to waste
time to unlock the phone and deal With missed call notifications and ca11 logs that
reflected the unwanted calls, This also impaired the usefulness of these features of
Plaintiff’s cellular phone, Which are designed to inform the user of important missed

communications

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39. Each and every call placed without express consent by CREDIT ONE
BANK, N.A. to Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of
Plaintiff`s cell phone’s battery power.

40. Each and every call placed without express consent by CREDIT ONE
BANK, N.A. to Plaintiff’s cell phone where a voice message was left Which occupied
space in Plaintiff’s phone or network.

41. Each and every call placed without express consent by CREDIT ONE
BANK, N.A. to Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff s
chattel, namely her cellular phone and her cellular phone services.

42. As a result of the answered and unanswered calls described above,
Plaintiff suffered an invasion of privacy; Plaintiff was also affected in a personal and
individualized way by stress, anxiety, nervousness, embarrassment, distress and
aggravation Due to both answered and unanswered calls, Plaintiff suffered the
expenditure of Plaintiff’s time, exhaustion of Plaintiff"s cellular telephone battery,
unavailability of Plaintiff’s cellular telephone while ringing, waste of Plaintiff’s time,
causing risk of personal injury due to distraction and trespass upon Plaintiff’ s chattels.
All of the abovementioned were caused by, and/or directly related to, Defendant’s
attempts to collect a debt from the Plaintiff through the use of automated/predictive
dialing technology.

COUNT l
(Violation of the TCPA)

43. Plaintiff fully incorporates and realleges paragraphs one through forty-two

(1-42) as if fully set forth herein.

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44. CREDIT ONE BANK, N.A. Willfully violated the TCPA with respect to
Plaintiff, especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone
after Plaintiff notified CREDIT ONE BANK, N.A. that she Wished for the calls to stop.

45. CREDIT ONE BANK, N.A. repeatedly placed non-emergency telephone
calls to Plaintiff’s cellular telephone using an automatic telephone dialing system or
prerecorded or artificial voice without Plaintist prior express consent in violation of
federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectiiilly demands a trial by jury on all issues so
triable and judgment against CREDIT ONE BANK, N.A. for statutory damages, punitive
damages, actual damages, treble damages, enjoinder from further violations of these parts
and any other such relief the court may deem just and proper.

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(Violation of the FCCPA)

46. Plaintiff fully incorporates and realleges paragraphs one through forty-two
(1-42) as if hilly set forth herein

47. At all times relevant to this action CREDIT ONE BANK, N.A. is subject
to and must abide by the laws of the State of Florida, including Florida Statute § 559.72.

48. CREDIT ONE BANK, N.A. has violated Florida Statute § 559.72(7) by
willfully communicating with the debtor or any member of his or her family with such
frequency as can reasonably be expected to harass the debtor or his or her family.

49. CREDIT ONE BANK, N.A. has violated Florida Statute § 559.72(7) by
willfully engaging in other conduct which can reasonably be expected to abuse or harass

the debtor or any member of his or her family.

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50. CREDIT ONE BANK, N.A.’s actions have directly and proximately
resulted in Plaintiff’s prior and continuous sustaining of damages as described by Florida
Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against CREDIT ONE BANK, N.A. for statutory damages, punitive
damages, actual damages, costs, interest, attorney fees, enjoinder from further violations
of these parts and any other such relief the court may deem just and proper.

Respectfully submitted,

/s/Frank H. Ker)mevl III. Esquire
Frank H. Kerney, III, Esquire
Florida Bar #: 88672

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